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Case 2:17-cr-00290-RSL Document 27 Filed 11/16/18 Page 1 of 4

The Honorable Robert S. Lasnik and
The Honorable Ricardo S. Martinez

 

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UNITED STATES DISTRICT COURT FOR THE

WESTERN DISTRICT OF WASHINGTON weeSthhiGh
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AT SEATTLE DEPUTY

UNITED STATES OF AMERICA,
Plaintiff,
V.
MUHAMMAD FAHD and
GHULAM JIWANI,

Defendants.

 

UNITED STATES OF AMERICA,
Plaintiff,
V.
KYRA EVANS,
Defendant. —

 

UNITED STATES OF AMERICA,
Plaintiff,
v.
DEVAUGHN WOODS,
Defendant.

 

 

NOTICE OF RELATED CASES/FAHD, EVANS, WOODS & SAPATIN

(Nos. CR17-0290RSL & CR18-251RSM, CR18-0254RSL & CR18-0255RSL) - 1

No. CR17-0290RSL
NOTICE OF RELATED CASES

(FILED UNDER SEAL)

No. CR18-0251RSM
NOTICE OF RELATED CASES

(FILED UNDER SEAL)

No. CR18-0254RSL
NOTICE OF RELATED CASES

(FILLED UNDER SEAL)

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
 

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Case 2:17-cr-00290-RSL Document 27 Filed 11/16/18 Page 2 of 4

UNITED STATES OF AMERICA, No. CR18-0255RSL
Plaintiff, NOTICE OF RELATED CASES
Vv.
MARC SAPATIN, (FILED UNDER SEAL)
Defendant.

 

Comes now the United States of America, by and through Annette L. Hayes,
United States Attorney for the Western District of Washington, Andrew C. Friedman and
Francis Franze-Nakamura, Assistant United States Attorneys for said District, and,
Anthony Teelucksingh, Trial Attorney with the Computer Crime & Intellectual Property
Section of the United.States Department of Justice, and files this Notice of Related Cases,
pursuant to Local Rule CrR 13(b).

The four cases listed in the caption are related cases and involve common
questions of law and fact. United States v. Muhammad Fahd & Ghulam Jiwani, No.
CR17-0290RSL, charges Muhammad Fahd and Ghulam Jiwani with orchestrating a
scheme in which they paid more than $1,000,000 in bribes to AT&T Mobility LLC
(“AT&T”) employees, including Kyra Evans, DeVaughn Woods, and Marc Sapatin, to
unlock more than 2,000,000 cellular telephones, including by installing malware on
AT&T’s computer systems to unlock the telephones. (Unlocking cellular telephones
permits the cellular telephones to be used on any telephone network. Customers whose
cellphones are unlocked may switch cellular telephone carriers, and could stop making
payments they agreed to make when they purchased their cellphones under
(1) installment plans, or (2) service plans that subsidized the cost of the purchase of the
cellphones.)

The bribed (and now former) AT&T employees, that is, Evans, Woods, and
Sapatin, are cooperating with the Government. Each has pled guilty to an information
and each has entered into a cooperation agreement with the Government. Each is

expected to testify at trial against Fahd, who has been arrested in Hong Kong, and who is

UNITED STATES ATTORNEY
NOTICE OF RELATED CASES/FAHD, EVANS, WOODS & SAPATIN 700 STEWART STREET, SUITE 5220

(Nos. CR17-0290RSL & CR18-251RSM, CR18-0254RSL & CR18-0255RSL) - 2 Seen 06) 333.7970 98101
 

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pending extradition, in the event that Fahd chooses to go to trial.! The cases of two
cooperators — Woods and Sapatin — have been assigned to Judge Lasnik, who also was
assigned the earliest filed of these related cases, the case against Fahd and Jiwani. See
United States v. DeVaughn Woods, No. CR18-0254RSL and United States v Marc
Sapatin, No. CR18-0255RSL. The case of the third cooperating witness — Kyra Evans —
is the only case that has fallen to another judge and was assigned to Judge Martinez. See
United States v. Kyra Evans, No. CR18-0251RSM. Because all of these cases involve
common questions of law and fact, the Government believes there may be good reason
for these cases to be assigned to a common judge, pursuant to Local Rule CrR 13(a).

DATED: this 16th day of November, 2018.

Respectfully submitted,

ANNETTE L. HAYES
United States Attorney

/s/ Andrew C. Friedman

ANDREW C. FRIEDMAN
FRANCIS FRANZE- NAKAMURA
Assistant United States Attorneys

700 Stewart Street, Suite 5220

Seattle, Washington 98101-1271

Telephone: (206) 553-0755

Fax: (206) 553-0882

E-mail: Andrew.Friedman@usdoj.gov
Francis.Franze-Nakamura(@usdoj.gov

 

' Fahd’s co-defendant, Jiwani, also was arrested in Hong Kong. Jiwani waived

extradition but passed away while still in Hong Kong custody.
. UNITED STATES ATTORNEY
NOTICE OF RELATED CASES/FAHD, EVANS, WOODS & SAPATIN 700 STEWART STREET, SUITE 5220

(Nos. CR17-0290RSL & CR18-251RSM, CR18-0254RSL & CR18-0255RSL) - 3 See 306) 353.7970 98101
 

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/s/ Anthony Teelucksingh
ANTHONY TEELUCKSINGH
Trial Attorney

1301 New York Avenue, N.W.

Computer Crime & Intellectual Property Section
United States Department of Justice
Washington, DC 20530

Telephone: (202) 353-4779

E-mail: Anthony.Teelucksingh@usdoj.gov

UNITED STATES ATTORNEY

NOTICE OF RELATED CASES/FAHD, EVANS, WOODS & SAPATIN 700 STEWART STREET, SUITE 5220
(Nos. CR17-0290RSL & CR18-251RSM, CR18-0254RSL & CR18-0255RSL) - 4 SEATTLE, WASHINGTON 98101

(206) 553-7970
